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                                                                 8                          UNITED STATES DISTRICT COURT

                                                                 9                        NORTHERN DISTRICT OF CALIFORNIA

                                                                10
                                                                11 SECURITIES AND EXCHANGE                       Case No. 3:20-cv-09247-SI
SMILEY WANG-EKVALL, LLP




                                                                     COMMISSION,
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                                                                12                                               THIRD QUARTERLY REPORT OF THE
                               Costa Mesa, California 92626




                                                                                              Plaintiff,         RECEIVER
                                                                13
                                                                             v.                                  Hearing Information;
                                                                14                                               Date:   January 7, 2022
                                                                   SILICONSAGE BUILDERS, LLC aka                 Time: 3:00 p.m.
                                                                15 SILICON SAGE BUILDERS and                     Crtrm.: 1 – 17th Floor (hearing via Zoom)
                                                                   SANJEEV ACHARYA,                              Judge: Susan Illston
                                                                16
                                                                                          Defendants.
                                                                17
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                                                                 1 TO THE HONORABLE SUSAN ILLSTON, UNITED STATES DISTRICT JUDGE, THE
                                                                 2 SECURITIES & EXCHANGE COMMISSION, THE DEFENDANT AND HIS COUNSEL,
                                                                 3 AND INVESTORS AND CREDITORS OF THE RECEIVERSHIP ENTITIES:
                                                                 4           David Stapleton, the permanent receiver (the "Receiver") appointed by the Court

                                                                 5 pursuant to the Order on Plaintiff Securities and Exchange Commission's Motion for
                                                                 6 Appoint of Receiver (the "Receivership Order") that was entered on February 10, 2021,
                                                                 7 submits this Third Quarterly Report to apprise the Court of the actions taken by the
                                                                 8 Receiver since the filing of the last status report, which covered the period through July
                                                                 9 31, 2021. This report formally covers the period through October 31, 2021, although
                                                                10 some of the information contained in it is current as of the date of the filing of the report.
                                                                11               The purpose of this status report is to update all parties on progress related to the
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                                                                12 recovery plan and the marketing and sale of receivership assets and to set forth the
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                                                                13 Receiver’s next steps in carrying out the recovery plan for the Receivership Estate. The
                                                                14 Receiver requests entry of an order approving this Third Quarterly Report.
                                                                15
                                                                16 I.        GENERAL DESCRIPTION OF THE RECEIVER’S ACTIVITIES AND EFFORTS IN

                                                                17           THE THIRD QUARTER

                                                                18           A.        General Operations of the Receiver

                                                                19           During the Third Quarter, the Receiver continued to market and sell the various

                                                                20 properties owned by the Receivership Entities. The sale of the Balbach property closed,
                                                                21 and the sale of the properties owned by 528 Mathilda, LLC, and 1460 Monroe, LLC, were
                                                                22 approved by the Court and closed. The sale of these three properties generated a
                                                                23 combined approximately $11.0 MM in proceeds for the Receivership Estate. The Receiver
                                                                24 also moved for approval of the sale of the real property owned by Sage at Irvington, LLC,
                                                                25 also known as “Osgood 2” and escrow closed on November 30, 2021, generating an
                                                                26 additional $2.6 million for the Receivership Estate. The Receiver continues to market the
                                                                27 remainder of the properties that have been listed for sale.
                                                                28

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                                                                 1           A major focus of the efforts of the Receiver and his team during the Third Quarter

                                                                 2 has been on continuing with the ongoing construction at the condominium projects owned
                                                                 3 by Osgood, LLC, and 1821 Almaden, LLC. TriGate Almaden PE Investor, LLC, and
                                                                 4 TriGate Fremont PE Investor, LLC, the preferred equity members of Osgood, LLC, and
                                                                 5 1821 Almaden, LLC, filed a motion to remove these entities from the Receivership Estate
                                                                 6 for the reasons set forth in that motion, which the Receiver does not believe are well taken.
                                                                 7 The Receiver opposed that motion and filed his own motion to approve the Construction
                                                                 8 Funding Agreement he negotiated with Acres Capital, LLC, the existing construction lender
                                                                 9 on both projects. The hearings on those motions are scheduled for December 6, 2021.
                                                                10               On a day-to-day basis, the Receiver, his team and his counsel continue to:

                                                                11                    field numerous inquiries from various constituents, including creditors and
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                                                                12                     their counsel, investors, and former employees who have information
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                                                                13                     regarding the status of the SiliconSage projects and the history of the

                                                                14                     company’s operations and finances.

                                                                15                    analyze the financial records and bank statements in order to determine the

                                                                16                     source of the money into the Receivership Entities, as that term is defined in

                                                                17                     the Order, and how money flowed between the Receivership Entities.

                                                                18                    review the disbursement of funds to investors, vendors and creditors from

                                                                19                     each of the Receivership Entities to confirm the accuracy of the reports and

                                                                20                     records.

                                                                21                    manage the construction of the Almaden and Osgood projects

                                                                22                    review offers and negotiate with buyers in an effort to sell the remaining

                                                                23                     property of the Receivership Estate, and coordinate with real estate brokers

                                                                24                     to move towards completing the same.

                                                                25           B.        Cash on Hand & Receipts & Disbursements

                                                                26           As of the date of appointment, the Receivership Entities had 62 bank accounts at

                                                                27 Chase Bank with a cumulative cash balance of -$6,321 (negative balance). The Receiver
                                                                28 established certain receivership trust accounts to deposit miscellaneous receipts for the

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                                                                 1 Receivership Entities. For purposes of this report and to isolate the Receiver’s work and
                                                                 2 the funding and expenses specific to the two ongoing construction projects at Almaden and
                                                                 3 Osgood, the Receiver will bifurcate efforts into General Receivership Cash Activity and
                                                                 4 Almaden / Osgood Cash Activity below.
                                                                 5                   1.      General Receivership Cash Activity

                                                                 6           Since the date of the Receiver’s appointment and not including receipts and

                                                                 7 disbursements related to the two ongoing construction projects, the Receiver has collected
                                                                 8 $62,731,365 and disbursed $51,322,542, for an ending cash balance of $11,408,823 as of
                                                                 9 October 31, 2021.1 Of the $51,322,542 of disbursements, $48,800,269 were paid in the
                                                                10 form of loan payments associated with loan payoffs to secured lenders at the time of closing
                                                                11 sales and $78,312 were paid in the form of security deposits turned over to the buyer of
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                                                                12 the Balbach apartment building. Attached as Exhibit 1 is a summary of cash receipts and
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                                                                13 disbursements for Q3 2021 and for the receivership period through October 31, 2021, for
                                                                14 all entities except for Almaden and Osgood.
                                                                15                   2.      Almaden & Osgood Cash Activity

                                                                16           Since the date of the Receiver’s appointment and in order to keep construction

                                                                17 moving forward, Acres Capital, the secured creditor with the senior lien on both the
                                                                18 Almaden and Osgood properties, has made protective advances under its construction
                                                                19 loans to fund ongoing construction expenses for the Almaden and Osgood projects. During
                                                                20 the Third Quarter, the Receiver and Acres documented their agreement regarding the
                                                                21 funding of the completion of construction and have submitted it to the Court for approval.
                                                                22 As of October 31, 2021, Acres had funded $14,770,362 and the Receiver has disbursed
                                                                23 $9,779,266 related specifically to the Almaden and Osgood projects. All of the amounts
                                                                24 funded are for actual costs to be paid related to the ongoing construction of these projects,
                                                                25
                                                                     1
                                                                       While the concurrently filed Third Fee Application of Receiver and Receiver’s counsel covers the third
                                                                26   quarter (Q3) 2021 period ending 9/30/2021, the Receiver is including cash receipts and disbursements
                                                                     activity in this report through October 31, 2021 to provide more recent information and to capture activity
                                                                27   from substantial sales closed during October 2021. The Receiver has recorded gross receipts and gross
                                                                     disbursements of all amounts funded through escrow and received and paid at the time of the closing of the
                                                                28   various sales.


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                                                                 1 and the difference between funds received and funds disbursed is merely related to timing
                                                                 2 differences and the fees and costs of the Receiver that have not yet been paid. The
                                                                 3 foregoing amount of protective advances includes allocations for the Receiver's fees and
                                                                 4 costs. However, if the Court approves the Construction Funding Agreement for these
                                                                 5 projects, Acres will not add the amount advanced for the Receiver's fees and costs related
                                                                 6 to the management of the project to its loan, so the actual amount of protective advances
                                                                 7 will be reduced accordingly. Attached as Exhibit 2 is a summary of cash receipts and
                                                                 8 disbursements for Q3 2021 and for the receivership period through October 31, 2021.
                                                                 9 These projects are discussed in more detail below.
                                                                10           Exhibit 3 is the Standardized Fund Accounting Report for the quarter ended

                                                                11 September 30, 2021.
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                                                                13 II.       STATUS OF THE RECEIVER'S ADMINISTRATION OF ASSETS

                                                                14           A.    Overview

                                                                15           Shortly after his appointment, the Receiver listed all of the real property owned by

                                                                16 the Receivership Entities for sale, except for the two condominium projects. The Receiver
                                                                17 has sold the real properties owned by B Street Hayward, LLC, 138 Balbach, LLC, 1460
                                                                18 Monroe, LLC, 528 Mathilda, LLC, and Sage at Irvington, LLC and continues to market the
                                                                19 remaining real estate. The sales have each required negotiations with the secured creditors
                                                                20 regarding default interest and other details, with the secured creditors giving concessions
                                                                21 in order to increase the amount realized by the Receivership Estate. The two ongoing
                                                                22 construction projects have presented more complex issues, as detailed below.
                                                                23           B.    Recovery Efforts by Project

                                                                24           As previously discussed, the Receiver identified thirteen properties that comprise

                                                                25 the Receivership Estate and the Receiver and his team have evaluated each property
                                                                26 separately. Twelve of them have been listed for sale. The current status and associated
                                                                27 debt of every identified property is outlined in the following, with the five (5) properties that
                                                                28

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                                                                 1 have been sold discussed first:2
                                                                 2                   1.      138 Balbach, LLC

                                                                 3           138 Balbach, LLC held title to a fully-built apartment building in San Jose. During

                                                                 4 the Third Quarter, the Receiver closed escrow on the sale of this property, generating net
                                                                 5 proceeds of approximately $10.7 million for the Receivership Estate.
                                                                 6                   2.      1460 Monroe, LLC

                                                                 7           1460 Monroe, LLC owned three retail units on the ground floor of a condominium

                                                                 8 project located at 1374-1378 El Camino Real, Santa Clara, CA. During the third quarter,
                                                                 9 the Receiver closed escrow on the sale of all three units, generating total net proceeds of
                                                                10 approximately $177,000 for the Receivership Estate.
                                                                11                   3.      528 Mathilda, LLC
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                                                                12           528 Mathilda, LLC owned a commercial unit on the ground floor of a residential
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                                                                13 building, directly adjacent to the SiliconSage corporate office. During the third quarter,
                                                                14 the Receiver closed escrow on the sale of this commercial unit, generating net proceeds
                                                                15 of approximately $142,000 for the Receivership Estate.
                                                                16                   4.      B Street Hayward, LLC

                                                                17           When the Receiver was appointed, there was a sale pending for a townhome

                                                                18 located at 106 B Street in Hayward. The Receiver obtained Court approval to proceed
                                                                19 with that sale and closed escrow on this property in the second quarter, generating net
                                                                20 proceeds of approximately $414,000 for the Receivership Estate.
                                                                21                   5.      Sage at Irvington, LLC

                                                                22           Sage at Irvington, LLC owns land that has been submitted for entitlement and on

                                                                23 which a warehouse and residence are located. The property address is 42021 & 41965
                                                                24 Osgood Road in Fremont, CA. During the third quarter, the Receiver filed a motion for
                                                                25 approval of the sale of this property for $13.5 million, and the Court approved that sale in
                                                                26
                                                                27
                                                                     2
                                                                       The debt and potential recovery figures presented in this report are estimates only and will continue to be
                                                                28   updated as things develop and additional information is made available to the Receiver.


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                                                                 1 November 2021. It closed on November 30, 2021, and generated net proceeds of $2.6
                                                                 2 million for the Receivership Estate.
                                                                 3                 6.      Peralta at Fremont, LLC

                                                                 4           Peralta at Fremont, LLC owns land that is fully entitled for a mixed-use

                                                                 5 development project at 3780 Peralta Blvd. in Fremont. The Receiver recently accepted
                                                                 6 an offer to purchase this property for $23 million, although the buyer has sixty days from
                                                                 7 November 17, 2021, to complete its due diligence. The Receiver is analyzing the validity
                                                                 8 of the liens against this property and expects it to generate at least $2 million in net
                                                                 9 proceeds for the Receivership Estate.
                                                                10                 7.     Downtown Gateway Retail, LLC, as Successor to 1313 Franklin,

                                                                11                        LLC
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                                                                12           Downtown Gateway Retail, LLC owns seven retail units on the ground floor of a
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                                                                13 fully built condominium project that was previously owned by 1313 Franklin, LLC. The
                                                                14 Receiver has marketed these units both as a collective and individually and has received
                                                                15 offers on each of the units. The offers total an amount that will require concessions from
                                                                16 the holder of the first priority lien against these units and discussions with the secured
                                                                17 creditor are underway. The Receiver expects to file a motion for approval of these sales
                                                                18 and the agreement with the secured creditor in the next quarter.
                                                                19                 8.     Little Portugal Gateway, LLC

                                                                20           Little Portugal Gateway, LLC owns one of two parcels that are required to

                                                                21 complete development of a fully-entitled condominium development project located at
                                                                22 1665 Alum Rock Avenue in San Jose, CA. Prior to the Receiver’s appointment,
                                                                23 SiliconSage Builders signed an agreement to purchase the second parcel that is
                                                                24 required, but allegedly breached that agreement. Because the seller expressed to the
                                                                25 Receiver a continued willingness to sell the parcel, the Receiver marketed the parcels
                                                                26 together as that would have yielded a significantly higher price than marketing only the
                                                                27 parcel owned by Little Portugal Gateway, LLC. Unfortunately, the Receiver has not
                                                                28 received any viable offers for the full assemblage. As a result, during the third quarter,

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                                                                 1 the Receiver made the decision to market only the parcel that Little Portugal Gateway,
                                                                 2 LLC owns and has received an offer that will require concessions from the senior
                                                                 3 lienholder. Discussions are underway and assuming that the senior lienholder is
                                                                 4 amenable to the required concessions and the due diligence contingency is satisfied, the
                                                                 5 Receiver expects to present the sale to the Court for approval in the next quarter.
                                                                 6                 9.     538 Mathilda Avenue, LLC

                                                                 7           538 Mathilda Avenue, LLC owns the first floor retail/office space at 560 S. Mathilda

                                                                 8 Avenue in Sunnyvale and is where the SiliconSage Builders corporate office was located.
                                                                 9 After months of marketing, the Receiver has received an offer to acquire the property for
                                                                10 an amount that is less than the secured debt owed on the project. The Receiver is in
                                                                11 discussions with the lenders in an attempt to obtain their consent to concessions on the
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                                                                12 total outstanding debt owed to allow for a meaningful recovery to the Receivership
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                                                                13 Estate. Assuming these discussions and negotiations are productive, the Receiver will
                                                                14 present the sale to the Court in the next quarter. If the discussions are unsuccessful, the
                                                                15 Receiver will likely abandon this asset.
                                                                16                 10.    2101 Alum Rock, LLC

                                                                17           2101 Alum Rock, LLC owns land that is located at 2101-2149 Alum Rock Avenue

                                                                18 in San Jose, CA. At the time the Receiver was appointed, 2101 Alum Rock, LLC was in
                                                                19 the process of obtaining entitlements for an 800-unit development that involved parcels
                                                                20 not owned by 2101 Alum Rock (the "Alum Rock Project"). The portion owned by 2101
                                                                21 Alum Rock, LLC, consists mostly of raw land with an abandoned gas station and a
                                                                22 building that is currently leased to Sunbelt Rentals. Prior to the Receiver’s appointment,
                                                                23 the intention was to get the property entitled for a 800-unit condominium development.
                                                                24 With no strong indication of interest from buyers to pursue the completion of this project
                                                                25 as designed, and no financial resources to fund it, the Receiver has marketed the
                                                                26 property and project as-is and has not furthered the in-process entitlement efforts. Pre-
                                                                27 receivership, SiliconSage Fund 1, LLC, a Delaware limited liability company (Series) –
                                                                28 Series 4, signed agreements to purchase the other parcels to accommodate the

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                                                                 1 development of the Alum Rock Project. The Receiver is informed that these agreements
                                                                 2 were breached prior to his appointment. Notwithstanding that breach, the neighboring
                                                                 3 landowners expressed an interest in working with the Receiver to attempt to facilitate a
                                                                 4 sale of the parcels together. Unfortunately, no viable offers have been received. The
                                                                 5 Receiver has also marketed just the parcel owned by 2101 Alum Rock, LLC, but has not
                                                                 6 received any serious expressions of interest. In October, Parkview Financial, the senior
                                                                 7 secured lender, filed a motion for relief from the Receivership Order in order to exercise
                                                                 8 its state law remedies. The Receiver resolved that motion by agreeing that if the property
                                                                 9 was not in escrow by January 31, 2022, Parkview would have relief from the
                                                                10 Receivership Order effective February 1, 2022. If the property is in escrow on or before
                                                                11 January 31, 2022, then the Receiver will have until April 30, 2022, to close escrow. If
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                                                                12 escrow does not close by April 30, 2022, Parkview would have relief from the
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                                                                13 Receivership Order effective May 1, 2022.
                                                                14           In addition to the difficulties generating interest in this property, there is also a

                                                                15 dispute about ownership of 2101 Alum Rock, LLC. This is the subject of a pending
                                                                16 motion scheduled for a hearing on January 7, 2022, at 10:00 a.m. The Receiver is
                                                                17 evaluating the motion to determine whether there is any purpose served to opposing the
                                                                18 motion.
                                                                19                  11.    1821 Almaden, LLC, and Osgood, LLC

                                                                20           1821 Almaden, LLC, and Osgood, LLC, each own partially-constructed

                                                                21 condominium projects in the Bay Area. These projects are the subject of two pending
                                                                22 motions: one filed by the preferred equity member of both entities to remove them from
                                                                23 the receivership in exchange for the payment of $500,000, and one filed by the Receiver
                                                                24 to complete construction and sell the units in exchange for a guaranteed payment of
                                                                25 $400,000, plus the administrative costs incurred by the Receivership Estate in connection
                                                                26 with the day-to-day management of the projects. The Receiver will not lay out the history
                                                                27 of these motions in this status report since it is described in detail in the motion and reply
                                                                28 filed by the Receiver as docket numbers 211, 212, and 228 . The Receiver believes that

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                                                                 1 completion of construction and not removing 1821 Almaden, LLC and Osgood, LLC from
                                                                 2 the Receivership Estate are in the best interests of all investors because it will preserve
                                                                 3 the possibility, however remote, that the completion may generate sufficient funds to
                                                                 4 provide an additional benefit to the Receivership Estate. Keeping the entities in the
                                                                 5 receivership also results in the estate retaining any litigation claims that may be held by
                                                                 6 these entities and that could be pursued for the benefit of the Receivership Estate.
                                                                 7           The hearing on these motions is scheduled for December 6, 2021, at 11:30 a.m.

                                                                 8                   12.   Walnut Morgan Hill, LLC

                                                                 9           Walnut Morgan Hill, LLC owns land located at 17374 Walnut Grove Drive in

                                                                10 Morgan Hill, CA. Although Walnut Morgan Hill, LLC was listed as one of the
                                                                11 Receivership Entities and it holds title to the Morgan Hill Project, it appears that last year,
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                                                                12 the ownership of this entity was transferred to an investor. That investor asserts that
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                                                                13 Walnut Morgan Hill, LLC should be removed as one of the Receivership Entities. The
                                                                14 Receiver is reviewing the documentation regarding the transfer of ownership as well as
                                                                15 the potential value of the Morgan Hill Project but is not yet prepared to take a position on
                                                                16 this issue at this time. Pending the outcome of this analysis, the Receiver has not listed
                                                                17 the Morgan Hill Project for sale.
                                                                18
                                                                19 III.      STATUS OF THE FORENSIC ACCOUNTING

                                                                20           To-date, the Receiver’s forensic efforts have focused on the following matters:

                                                                21                  Aggregating, analyzing, and assessing the reliability of the financial

                                                                22                   records belonging to Silicon Sage Builders, et. al.;

                                                                23                  Analyzing sources and uses of cash across all entities;

                                                                24                  Analyzing and calculating the amount of benefit received by S. Acharya

                                                                25                   from the Receivership Entities that may be subject to disgorgement; and

                                                                26                  Identifying potential claims to recover profits received by investors and

                                                                27                   other avoidable transfers;

                                                                28

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                                                                 1           A.    Sources and Uses of Cash

                                                                 2           Understanding the historical sources and uses of cash is a critical component of

                                                                 3 the forensic analysis as it explains how investor and creditor funds were used. The
                                                                 4 Receiver explored two methodologies for analyzing historical cash flow. First, the annual
                                                                 5 financial statements were analyzed to produce annual cash flows between 2014 - 2020
                                                                 6 for Silicon Sage Builders, Silicon Sage Construction, 138 Balbach, Silicon Sage Bridge
                                                                 7 Fund, and Silicon Valley Investment Partnership. While this methodology was
                                                                 8 informative, the Receiver discovered that a large volume of non-cash transactions within
                                                                 9 the financial statements obscured the true sources and uses of cash. The unraveling of
                                                                10 non-cash transaction across all entities’ books was deemed to be excessively costly to
                                                                11 the estate, and therefore, the Receiver pivoted to the second methodology: an analysis of
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                                                                12 the bank statements to understand historical cash flow.
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                                                                13           The Receiver aggregated and analyzed electronic bank statements for all 77 bank

                                                                14 accounts associated with Receivership Entities. This analysis sought to identify and
                                                                15 classify more than 130,000 transactions. After review of the banking of several entities,
                                                                16 the Receiver deemed this approach to also be very costly to the Receivership Estate as
                                                                17 the bank transactions were voluminous and the descriptions of the transactions in the
                                                                18 bank statements did not clearly identify the purpose of the transactions. For example, the
                                                                19 Receiver analyzed one day of transactions for Peralta at Fremont LLC, SiliconSage
                                                                20 Builders, SiliconSage Construction, and Silicon Sage Bridge Fund. On this single day, the
                                                                21 four entities produced 317 transactions which accounted for inflows in the amount of
                                                                22 $12,330,610 and outflows in the amount of $11,935,524. While the payors or payees for
                                                                23 the majority of the transactions were available, the purpose of the transactions were not
                                                                24 easily discernable. Extrapolating this review across eight years would require many
                                                                25 hundreds of hours and cost the Receivership Estate a significant amount of money.
                                                                26           Therefore, the Receiver has determined that the best value add to the investors

                                                                27 would be to replace the sources and uses analysis with analyses that determined
                                                                28 whether the group of entities operated as a unitary enterprise and that produced investor

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                                                                 1 capital balances based on a money-in, money-out (“MIMO”) approach. The unitary
                                                                 2 enterprise and MIMO analyses will serve as the foundation for the development of a
                                                                 3 distribution plan to be presented to the Court.
                                                                 4           As a starting point for evaluating whether the Receivership Entities should be

                                                                 5 treated as a unitary enterprise or whether one or more of them should be treated as a
                                                                 6 standalone entity, the Receiver has randomly selected several different transactions
                                                                 7 initiated by 1821 Almaden, LLC, Osgood, LLC, and 180 Balbach, LLC, to determine the
                                                                 8 flow of funds. Each of the transactions that was reviewed flowed through several entities,
                                                                 9 usually on the same day. Although some portion of the transactions were used as the
                                                                10 lender or investor intended, the majority reviewed so far were not. Examples of this
                                                                11 analysis are included as Exhibit 4. The Receiver is randomly selecting additional
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                                                                12 transactions to analyze and will review additional entities to determine if they are
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                                                                13 consistent with the findings so far. If they are, it is more likely than not that the Receiver
                                                                14 would recommend that these entities be treated as a unitary enterprise so that assets
                                                                15 and liabilities are pooled. However, this analysis remains ongoing and subject to further
                                                                16 testing and the Receiver is not yet prepared to make a recommendation on this issue.
                                                                17           B.    Analysis of Certain Transfers

                                                                18           The Receiver remains in the process of reviewing disbursements to investors to

                                                                19 identify which investors were "net winners" who received back more than they put in.
                                                                20 This analysis is ongoing.
                                                                21
                                                                22 IV.       MISCELLANEOUS         ISSUES     RELATED      TO    ADMINISTRATION         OF    THE

                                                                23           RECEIVERSHIP ESTATE

                                                                24           A.    Claims Process

                                                                25           The Receiver intends to file a motion to approve a claims procedure with the Court

                                                                26 in the next quarter. However, it will be some time before the Receiver is in a position to
                                                                27 make distributions to investors and creditors. The Receiver will provide further updates on
                                                                28 this process and timing in his quarterly reports.

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                                                                 1           B.     Pending Litigation Against the Receivership Entities for Which

                                                                 2                  Insurance Coverage May Be Available

                                                                 3           As of the time of the Receiver's appointment, there were pre-litigation claims related

                                                                 4 to construction issues against a number of the Receivership Entities for which there is
                                                                 5 insurance coverage available and for which the insurance company was providing a
                                                                 6 defense. The Receiver has verified that these policies are for property damage and bodily
                                                                 7 injury and are not a potential source of recovery for investors. Consistent with how this
                                                                 8 issue is typically handled in a bankruptcy case, the Receiver is in the process of finalizing
                                                                 9 a stipulation to be presented to the Court that would permit the cases or claims to proceed
                                                                10 as against insurance only and conditioned upon their waiver of any claims against the
                                                                11 Receivership Estate.
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                                                                12           C.     401k Plan Administration & Wind-Down
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                                                                13           At the time of the Receiver’s appointment, SiliconSage had an employer-sponsored

                                                                14 401k plan for eligible employees. As set forth in the last status report, the Stapleton Group
                                                                15 is acting as an independent fiduciary to terminate the plan and facilitate the distribution of
                                                                16 its assets in a manner consistent with federal law. The fees and costs incurred by Stapleton
                                                                17 Group in connection with this process will be paid from assets of the 401k plan as permitted
                                                                18 by the terms of that plan, as opposed to being borne by the Receivership Estate as a whole.
                                                                19 Stapleton Group is working with the Employee Benefit Securities Administration to give the
                                                                20 appropriate notices.
                                                                21           D.     Fees and Costs of the Receiver and His Counsel

                                                                22           For the first quarter of 2021, which was a partial quarter, the Receiver sought

                                                                23 allowance of $357,006.00 in fees and $7,110.41 in costs, and the Court approved the
                                                                24 fees in full and authorized the payment from available funds of $178,503.00 in fees and
                                                                25 all of the costs. His counsel, Smiley Wang-Ekvall, LLP, sought allowance of $91,122.30
                                                                26 in fees and $9,208.71 in costs, and the Court approved the fees in full and authorized the
                                                                27 payment from available funds of $36,383.04 in fees and all of the costs. Payment of the
                                                                28 amounts held back may be sought and approved at a later date. The amount allowed to

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                                                                 1 be paid by the Court was 50% of the requested fees based on the fact that the
                                                                 2 proceedings were still in the early stages and the various properties had not yet been
                                                                 3 sold.3
                                                                 4           For the second quarter of 2021, the Receiver sought allowance of $641,953.50 in

                                                                 5 fees and $1,415.13 in costs, noting that $345,891.50 of those fees were related to the
                                                                 6 Almaden and Osgood construction projects. The Court authorized the payment from
                                                                 7 available funds of $222,046.50 (representing 75% of the fees not related to Almaden and
                                                                 8 Osgood) and all of the costs and suspended ruling on the $345,891.50 until the outcome
                                                                 9 of the December 6, 2021, hearings was known. Smiley Wang-Ekvall sought allowance of
                                                                10 $130,885.65 in fees and $1,593.37 in costs, noting that $41,949.45 of the fees were
                                                                11 incurred in connection with legal issues pertaining to the Osgood and Almaden
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                                                                12 construction projects. The Court authorized payment from available funds of $60,649.76
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                                                                13 in fees (again representing 75% of the fees not related to Almaden and Osgood) and all
                                                                14 of the costs. It reserved ruling on the fees associated with the Almaden and Osgood
                                                                15 projects pending the outcome of the motions that are currently scheduled for a hearing on
                                                                16 December 6, 2021. Payment of the amounts held back may be sought and approved in
                                                                17 connection with the final fee application hearing at the end of the case.
                                                                18           Concurrent with the filing of this Status Report, the Receiver and Smiley Wang-

                                                                19 Ekvall are submitting fee applications for the third quarter ending on September 30, 2021.
                                                                20 The Receiver is seeking allowance of $577,408 in fees and $1,228.76 in costs, and
                                                                21 Smiley Wang-Ekvall is seeking the allowance of $93,388.95 in fees and $3,466.81 in
                                                                22 costs. Under the construction funding agreement that has been submitted to the Court
                                                                23 for approval and that is set for a hearing on December 6, 2021, if the Court approves the
                                                                24 Receiver's motion, the Receiver's fees and costs related to the day-to-day management
                                                                25
                                                                26
                                                                     3
                                                                27   The order entered by the Court appears to have inadvertently miscalculated 50% of the
                                                                   Firm's fees as $36,383.04. 50% of the Firm's requested fees should have been
                                                                28 $45,561.15.

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                                                                 1 of the Almaden and Osgood projects, which are included in the above amounts, would be
                                                                 2 borne solely by Acres Capital and not by the Receivership Estate.
                                                                 3
                                                                 4 V.        REQUEST FOR AUTHORITY TO PURSUE A FRAUDULENT TRANSFER

                                                                 5           ACTION

                                                                 6           Section IX of the Receivership Order requires leave of Court to commence

                                                                 7 litigation. The Receiver has recently determined that Mr. Acharya used funds belonging
                                                                 8 to SiliconSage Builders, LLC, to pay for land in Manteca for his in-laws, on which they
                                                                 9 subsequently built a residence (the ""Manteca Property"). Specifically, on April 1, 2020,
                                                                10 Mr. Acharya wired $455,000 into his bank account with Digital Federal Credit Union and,
                                                                11 on the same day, withdrew $452,899.67 that was deposited into the escrow at Old
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                                                                12 Republic Title Company for his in-laws' acquisition of the land. The Receiver seeks
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                                                                13 authority to commence litigation in the U.S. District Court to seek a judgment against the
                                                                14 in-laws for the value of the property transferred or a determination that the Manteca
                                                                15 Property belongs to the Receivership Estate because it was acquired with funds
                                                                16 belonging to a Receivership Entity.
                                                                17
                                                                18 VI.       CONCLUSION

                                                                19           Based on the foregoing, the Receiver requests entry of an order:

                                                                20           (A)   Approving this Status Report; and

                                                                21           (B)   Authorizing the Receiver to commence litigation related to the Manteca

                                                                22 Property; and
                                                                23           \\

                                                                24           \\

                                                                25           \\

                                                                26           \\

                                                                27           \\

                                                                28           \\


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                                                                 1           (C )   Granting such other and further relief as the Court deems just and proper.

                                                                 2
                                                                 3 DATED: December 3, 2021                  Respectfully submitted,

                                                                 4                                          SMILEY WANG-EKVALL, LLP
                                                                 5
                                                                 6                                          By:          /s/ Kyra E. Andrassy
                                                                 7                                                KYRA E. ANDRASSY
                                                                                                                  Attorneys for David Stapleton, Receiver
                                                                 8
                                                                 9
                                                                10
                                                                11
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                                                                                                                                                        SEC v. SiliconSage Builders, et al.
                                                                                                                               Cash Receipts & Disbursements - All Receivership Entities Excluding Almaden & Osgood
                                                                                                                                                                           2/10/2021 - 10/31/2021



                                               2/10/2021 - 3/31/2021       4/1/2021 - 6/30/2021     7/1/2021 - 9/30/2021    10/1/2021 - 10/31/2021                                                                                                      Inception through 10/31/2021

                                                     Q1 2021                                                                      Q4 2021                                                                                                                                              B Street Hayward,     Peralta At Fremont     Siliconsage Builders,                Total,
                                                                                 Q2 2021                  Q3 2021                                       1313 Franklin, LLC        138 Balbach, LLC             1460 Monroe LLC      2101 Alum Rock, LLC     510 S. Mathilda Ave.
                                                     (partial)                                                                    (partial)                                                                                                                                                   LLC                   LLC                     LLC              2/10/21 - 10/31/21


Beginning Cash Balance                                             -                     22,713                 449,300                  574,382                       -                                -                    -                      -                        -                        -                     -                         -                   -

RECEIPTS

 Misc. Deposits (Initial Capital)                            12,923                          -                       -                     1,734                       -                                -                    -                      -                        -                        -                      -                    14,657               14,657
Impound Accounts Refund                                                                                                                  273,807                       -                            273,807                  -                      -                        -                        -                      -                       -                273,807

INCOME

  RENTAL INCOME
    Rental Income                                                2,278                   65,454                   60,954                 (153,144)                   4,666                      (168,628)                    -                 131,505                     8,000                      -                      -                        -               (24,457)
    Prepaid Rent                                                   -                     28,985                  (14,279)                  (1,573)                     -                          (1,573)                    -                  14,707                       -                        -                      -                        -                13,134
  TOTAL RENTAL INCOME                                            2,278                   94,440                   46,676                 (154,716)                   4,666                      (170,201)                    -                 146,212                     8,000                      -                      -                        -               (11,323)

  EXPENSE REIMBURSEMENT
    Passthru Janitorial                                             -                      (340)                     -                           -                     -                                -                    -                      -                       (340)                     -                      -                        -                  (340)
  TOTAL EXP REIMBURSEMENT                                           -                      (340)                     -                           -                     -                                -                    -                      -                       (340)                     -                      -                        -                  (340)

  SALE OF ASSETS
    Sale of Assets                                                  -                  949,000                 4,198,080              59,900,000                       -                      53,450,000               4,198,080                    -                  6,450,000                  949,000                    -                        -            65,047,080
    Exp of Sale - Commissions                                       -                  (23,725)                 (167,911)               (630,250)                      -                        (469,000)               (167,911)                   -                   (161,250)                 (23,725)                   -                        -              (821,886)
    Exp of Sale - Escrow & Title Charges                            -                   (2,778)                  (30,772)             (1,356,445)                      -                      (1,081,219)                (30,308)                   -                   (275,690)                  (2,778)                   -                        -            (1,389,996)
    Exp of Sale - Prof. & Misc Fees                                 -                      -                        (803)               (195,136)                      -                        (195,130)                   (809)                   -                        -                        -                      -                        -              (195,939)
    Exp of Sale - Loan Cost                                         -                      -                         -                  (201,302)                      -                        (201,302)                    -                      -                        -                        -                      -                        -              (201,302)
  TOTAL SALE OF ASSETS                                              -                  922,497                 3,998,594              57,516,867                       -                      51,503,349               3,999,052                    -                  6,013,060                  922,497                    -                        -            62,437,957

                                           -
    Miscellaneous Income                                            -                    16,608                      -                           -                     -                                -                    -                      -                        -                     16,608                    -                        -                16,608
  TOTAL OTHER INCOME                                                -                    16,608                      -                           -                     -                                -                    -                      -                        -                     16,608                    -                        -                16,608

TOTAL INCOME                                                     2,278                1,033,204                4,045,269              57,362,151                     4,666                   51,333,148                3,999,052               146,212                 6,020,720                  939,104                   -                         -            62,442,902

TOTAL RECEIPTS                                               15,200                   1,033,204                4,045,269              57,637,692                     4,666                   51,606,955                3,999,052               146,212                 6,020,720                  939,104                   -                     14,657           62,731,365

EXPENSES

  DIRECT EXPENSES
    Repairs & Maintenance                                          -                   492,064                    9,050                      349                       -                                -                    -                     -                         -                    495,963                 4,500                    1,000              501,463
    Computer Tech & Software Expense                             2,304                   7,846                    6,335                    2,296                       -                                -                    -                     -                         -                        -                     -                     18,780               18,780
    Insurance Exp                                                  -                    (1,095)                  51,987                   14,631                       -                             50,571                  -                  16,047                       -                        -                     -                     (1,095)              65,523
    Fence Rental                                                                                                  2,950                      -                                                                                                                                                                            2,950                                         2,950
    Property Tax                                                    -                   19,027                   89,521                  387,832                       -                            184,071              89,521                  6,342                  207,824                     8,623                   -                        -                496,380
    Utilities                                                    (9,960)                   -                    (16,669)                  10,115                       -                              9,140                 -                      -                        -                         479                   -                    (26,133)             (16,514)
    Telecommunication Expense                                       -                    1,590                    1,884                      429                       -                                -                   -                      -                        -                         -                     -                      3,902                3,902
  TOTAL DIRECT EXPENSES                                          (7,656)               519,431                  145,058                  415,652                       -                            243,782              89,521                 22,389                  207,824                   505,064                 7,450                   (3,546)           1,072,485

  GENERAL & ADMINISTRATIVE
    Office Expense                                                  48                       (48)                    -                           (78)                  -                                (78)                 -                      -                        -                        -                      -                       -                    (78)
    Professional Fees                                              -                         -                       -                         4,557                   -                                -                    -                      -                        -                        -                      -                     4,557                4,557
    Non-Employee Compensation                                       96                       -                       -                           -                     -                                -                    -                      -                        -                        -                      -                        96                   96
    Other Expenses                                                 -                         -                       -                        (6,328)                  -                             (6,328)                 -                      -                        -                        -                      -                       -                 (6,328)
  TOTAL G & A EXPENSE                                              144                       (48)                    -                        (1,849)                  -                             (6,406)                 -                      -                        -                        -                      -                     4,653               (1,753)

  INTEREST EXPENSE
    Interest Expense                                                -                      1,616                     -                  1,371,614                      -                            558,464                  -                      -                   813,150                     1,616                    -                        -             1,373,230
  TOTAL INTEREST EXPENSE                                            -                      1,616                     -                  1,371,614                      -                            558,464                  -                      -                   813,150                     1,616                    -                        -             1,373,230

TOTAL EXPENSES                                                   (7,512)               520,999                  145,058                 1,785,417                      -                            795,840              89,521                 22,389                 1,020,974                  506,680                 7,450                    1,108            2,443,962

NET INCOME                                                       9,790                 512,205                 3,900,211              55,576,734                     4,666                    50,537,308               3,909,530               123,823                 4,999,747                  432,424                 (7,450)                  (1,108)         59,998,940

  Loan Pay - Balances                                               -                   (85,617)              (3,775,129)             (44,939,522)                     -                     (40,089,446)             (3,732,425)              (109,117)              (4,850,000)                 (19,281)                   -                        -           (48,800,269)
  Security Deposit Return                                                                                            -                    (78,312)                     -                         (78,312)                    -                      -                        -                        -                      -                        -               (78,312)
 Intercompany Cash Transfer                                                                                          -                        -                        -                          50,571                     -                      -                        -                    (50,571)                   -                        -                   -
                                                                                                                                                                                                                                                                                                                             -
Ending Cash Balance                                          22,713                    449,300                  574,382               11,408,823                     4,666                   10,693,928                 177,105                 14,707                  149,747                   362,572                 (7,450)                 13,549           11,408,823




                                                                                                                                                                              Exhibit A
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                                                                    SEC v. SiliconSage Builders, et al.
                                                      Cash Receipts & Disbursements - ALMADEN & OSGOOD ONLY
                                                                            2/10/2021 - 10/31/2021


                                       2/10/2021 -         4/1/2021 -        7/1/2021 -              10/1/2021 -
                                                                                                                                       Inception through 10/31/2021
                                        3/31/2021          6/30/2021         9/30/2021               10/31/2021
                                          Q1 2021                                                     Q4 2021         1821 Almaden,             Osgood,                 Total
                                                            Q2 2021           Q3 2021
                                          (partial)                                                   (partial)            LLC                   LLC              2/10/21 - 10/31/21


Beginning Cash Balance                            -                     -         4,928,622              3,508,535                 -                       -                      -

Protective Advances from Lender                   -           6,382,576           5,597,950              2,781,552          7,769,494                6,992,584            14,762,078

OVERHEAD COST
 Utility                                          -              (1,758)            (51,004)                (3,605)           (12,744)                 (43,623)              (56,367)
 Equipment/Storage Rental                         -             (17,064)            (94,453)               (51,611)          (133,643)                 (29,485)             (163,128)
 General Labor                                    -            (178,232)           (246,097)               (53,401)          (297,154)                (180,575)             (477,729)
 Miscellaneous (O/H Cost)                         -                 (11)             (1,025)                   -                  -                     (1,036)               (1,036)
SUB-TOTAL OVERHEAD COST                           -            (197,065)           (392,579)              (108,617)          (443,541)                (254,720)             (698,261)

SITEWORK COST
  Erosion Control/ SWPP                           -               (6,840)            (4,955)                (8,265)               -                    (20,060)               (20,060)
  Signs & Stripping                               -                  -                  (45)                   -                  -                        (45)                   (45)
  Waterproofing                                   -                  -              (15,334)                   -              (15,334)                     -                  (15,334)
SUB-TOTAL SITEWORK COST                           -                  -              (15,334)                (8,265)           (15,334)                 (20,105)               (35,439)

DIRECT CONSTRUCTION COSTS
 Appliances - Supply & Install                    -                 -                   -                 (133,592)               -                   (133,592)              (133,592)
 Cabinet Tops - Granite                           -                 -              (157,197)               (28,470)           (28,470)                (157,197)              (185,667)
 Cabinets - Supply & Install                      -                 -               (70,502)                   -                  -                    (70,502)               (70,502)
 Concrete Foundation - Podium & Shoring           -                 -               (25,712)                (2,581)           (28,293)                     -                  (28,293)
 Doors - Metal & Jambs                            -                 -              (195,877)               (65,693)           (31,492)                (230,078)              (261,570)
 Drywall                                          -                 -               (67,511)               (44,469)               -                   (111,981)              (111,981)
 Electrical Wiring                                -             (25,845)           (341,953)              (219,510)          (395,199)                (192,109)              (587,308)
 Fire Alarm and extinguisher                      -                 -               (10,900)                  (753)            (9,444)                  (2,209)               (11,653)
 Fire Sprinkler                                   -                 -               (63,401)                   -                  -                    (63,401)               (63,401)
 Flooring - Tile                                  -                 -               (24,544)                   -               (2,676)                 (21,868)               (24,544)
 HVAC & Sheet Metal/ Trash Chutes                 -                 -                   -                   (6,450)            (4,750)                  (1,700)                (6,450)
 Light Weight Concrete                            -                 -                (1,319)                (1,486)               -                     (2,805)                (2,805)
 Painting                                         -                 -               (56,309)               (18,000)           (18,000)                 (56,309)               (74,309)
 Scaffolding                                      -             (47,492)            (74,428)               (12,656)          (130,101)                  (4,475)              (134,576)
 Stair & Railings - Iron                          -                 -               (27,533)              (397,948)               -                   (425,481)              (425,481)
 Trash Chutes & Waste Management                  -                 -                (3,011)                (1,164)              (442)                  (3,733)                (4,175)
SUB-TOTAL DIRECT CONSTRUCTION COSTS               -             (73,337)         (1,120,196)              (932,773)          (648,867)              (1,477,439)            (2,126,306)

SOFT COSTS
 Project Management                               -            (408,400)           (639,397)              (176,628)           (677,753)               (546,671)            (1,224,424)
 Electrical Project Management                    -                 -                (3,195)                (1,200)             (2,595)                 (1,800)                (4,395)
 Real Estate Investment Management                -                 -                (4,000)                   -                   -                    (4,000)                (4,000)
 Architectural and Design Fee                     -             (18,208)            (85,469)               (42,520)            (59,195)                (87,002)              (146,196)
 Sales and Marketing                              -             (24,994)             (1,043)                   -               (10,929)                (15,108)               (26,037)
 Insurance                                        -            (171,340)         (3,569,959)                   -            (2,204,524)             (1,536,775)            (3,741,299)
 Property Taxes                                   -            (319,286)                -                      -               (86,031)               (233,256)              (319,286)
 Environmental Studies & Assessments              -                 -               (18,340)                   -                (1,405)                (16,935)               (18,340)
 Abatement & Mold Remediation                     -                 -              (807,565)                   -              (761,855)                (45,710)              (807,565)
 Permit/ Inspection/ Legal Fees                   -             (15,781)            (51,487)                (9,280)            (49,280)                (27,268)               (76,548)
 Certificate of Occupancy                         -             (87,121)           (109,848)                   -              (113,636)                (83,333)              (196,970)
 Security                                         -            (131,040)           (132,480)                   -              (131,760)               (131,760)              (263,520)
 Receiver Fees and Expenses                       -                (543)               (567)                   -                  (539)                   (572)                (1,110)
SUB-TOTAL SOFT COSTS                              -          (1,176,712)         (5,423,351)              (229,628)         (4,099,502)             (2,730,189)            (6,829,691)
 Bike Racks                                                         -                   -                   (5,236)                -                    (5,236)                (5,236)
 Common Area Furniture & Fixture                                    -                (8,287)               (10,461)             (8,287)                (10,461)               (18,748)
 Common Area Equipment                                              -               (11,038)                (3,847)                -                   (14,885)               (14,885)
 Pool                                                               -               (42,254)                   -               (42,254)                    -                  (42,254)
 Walk & Steps                                                       -                   -                     (164)                -                      (164)                  (164)
SUB-TOTAL COMMON AREA COST                                          -               (61,579)               (19,708)            (50,541)                (30,746)               (81,286)
TOTAL WIP COSTS                                   -          (1,447,114)         (7,013,038)            (1,298,991)         (5,257,784)             (4,513,198)            (9,770,982)


Ending Cash Balance                               -           4,935,462           3,513,535              4,991,096          2,511,710                2,479,386             4,991,096




                                                                               Exhibit B
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         EXHIBIT "C"
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             STANDARDIZED FUND ACCOUNTING REPORT for SiliconSage - Consolidated
                        Receivership; Civil Court Docket No. #########
                           Reporting Period 07/01/2021 to 09/30/2021


FUND ACCOUNTING (See instructions):
                                                                                    Detail   Subtotal       Grand Total
Line 1       Beginning Balance (as of 07/01/2021)                                            5,377,922.15
             Increases in Fund Balance:
Line 2       Initial Capital
Line 3       Business Refunds                                                                   16,669.24
Line 4       Rental Income                                                                      46,675.93
Line 5       Business Asset Liquidation                                                       177,097.20
Line 6       Personal Asset Liquidation
Line 7       Third-Party Litigation Income
Line 8       Miscellaneous – Other                                                           5,597,950.36
               Total Funds Available (Lines 1 – 8):                                                             11,216,314.88
             Decreases in Fund Balance:
Line 9       Disbursements to Investors
Line 10      Disbursements for Receivership Operations
  Line 10a   Business Asset and Operating Expenses                                           7,133,397.79
               Total Disbursements for Receivership Operations                                                   7,133,397.79
Line 11      Disbursements for Distribution Expenses Paid by the Fund:
Line 12      Disbursements to Court/Other:
             Total Funds Disbursed (Lines 9 – 11):                                                               7,133,397.79
Line 13      Ending Balance (as of 09/30/2021):                                                                  4,082,917.09
Line 14      Ending Balance of Fund – Net Assets:
Line 14a       Cash & Cash Equivalents
Line 14b       Investments
Line 14c       Other Assets or Uncleaned Funds
             Total Ending Balance of Funds – Net Assets                                                                   0.00
                                                                                                                4,082,917.09
                                                                                    Detail   Subtotal       Grand Total
             Report of Items NOT To Be Paid by the Fund:

Line 15      Disbursements for Plan Administration Expenses Not Paid by the Fund:

Line 17      DC & State Tax Payments

Line 18      No. of Claims:

Line 19      No. of Claims/Investors:
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         EXHIBIT "D"
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Almaden
Use of Funds (Test Basis)

                                             Source                             Date       Contribution   Use                                  Notes re: Use of Contribution
                                                                                                                         Almaden LLC‐‐‐> SSC‐‐‐> Three Alarm Fire Protection for the Osgood sprinkler
                       Trigate Property Partners (Preferred Equity Partner)                                           system, ($39,514.85), and Pace Supply Corp, ($206,872.10), for Osgood related
  1                                                                           10/28/2020       431,962    (246,000)                                       invoices.
                                                                                                                      Almaden LLC‐‐‐> SS Mortgage‐‐‐> Superior Loan Servicing, ($32,095.44), lender for
                       Trigate Property Partners (Preferred Equity Partner)
  2                                                                            9/14/2020       421,444     (40,500)                                   Monroe property.

                              Acres Capital (Primary Secured Lender)
  3                                                                             4/1/2020       680,891    (455,000)      Almaden LLC‐‐‐> SSC‐‐‐> SSBF‐‐‐> SSB‐‐‐> Sanjeev Acharya personal account.
                                                                                                                       SSI 2‐‐‐> SCREL 2‐‐‐> Almaden LLC‐‐‐> ECR‐‐‐> SSBF‐‐‐> Saratoga‐‐‐> SSB‐‐‐> City of
                            Amar Gupta (via SiliconSage Investments 2)                                                                       Santa Clara (Saratoga Development fee)
  4                                                                            4/30/2015       250,000     (85,245)
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Osgood
Use of Funds (Test Basis)

                                       Source                                  Date        Contribution   Use                               Notes re: Use of Contribution

                 Trigate Property Partners (Preferred Equity Partner)
  1                                                                            10/9/2020       200,000     (47,812) Osgood LLC‐‐‐> SSB‐‐‐> B St Hayward‐‐‐> City of Hayward park dedication.
                                                                                                                     Osgood LLC‐‐‐> SSC‐‐‐> Bell Electric for work performed on the Balbach and
                       Acres Capital (Primary Secured Lender)
2a                                                                            11/20/2018     1,370,779     (18,264)                               Mathilda projects.
                                                                                                                      Osgood LLC‐‐‐> SSC‐‐‐> The Welding Madelid for work performed on the
                       Acres Capital (Primary Secured Lender)
2b                                                                            11/20/2018     1,370,779     (20,000)                                Franklin project.
                                                                                                                      Osgood LLC‐‐‐> SSC‐‐‐> Bay Area High Reach for work performed on the
                       Acres Capital (Primary Secured Lender)
 2c                                                                           11/20/2018     1,370,779     (96,957)                    Balbach, Franklin, and Monroe projects.
                                                                                                                        Osgood LLC‐‐‐> SSC‐‐‐> Sunbelt Rentals for equipment provided to the
                       Acres Capital (Primary Secured Lender)                                                         Franklin, Balbach, and Almaden projects. Approximately $10,000 of this
2d                                                                            11/20/2018     1,370,779    (108,612)                       payment was for Osgood invoices.
                                                                                                                         Osgood LLC‐‐‐> SSC‐‐‐> HD Supply for construction materials for the
                       Acres Capital (Primary Secured Lender)                                                        Almaden, Franklin, Balbach, and Mathilda projects. Approximately $46,000
2e                                                                            11/20/2018     1,370,779     (88,011)                   of this payments was for Osgood invoices.
                                                                                                                     Osgood LLC‐‐‐> SSC‐‐‐> Graybar Electric for work performed on the Balbach
                       Acres Capital (Primary Secured Lender)
 2f                                                                           11/20/2018     1,370,779    (126,676)                                     project.
                                                                                                                      Osgood LLC‐‐‐> SSC‐‐‐> Blackwell Engineering for work performed on the
                       Acres Capital (Primary Secured Lender)
2g                                                                            11/20/2018     1,370,779     (50,000)                                Balbach project.
                                                                                                                      Osgood LLC‐‐‐> SSC‐‐‐> Tri‐County Insulation for work performed on the
                       Acres Capital (Primary Secured Lender)
2h                                                                            11/20/2018     1,370,779     (36,038)                          Balbach and Franklin projects.
                                                                                                                    SSI 4‐‐‐> Osgood LLC‐‐‐> SSBF‐‐‐> 2585 El Camino Real LLC ‐‐‐> SSB‐‐‐> City of
           Starbright Trust dtd 1/30/1997 ‐ Amar Gupta (Investor via SSI 4)                                                     Santa Clara development fee for 2585 El Camino Real.
  3                                                                             1/6/2015       500,000    (406,729)
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Balbach
Use of Funds (Test Basis)

                                       Source                                    Date    Contribution        Use                          Notes re: Use of Contribution
                                                                                                                      SSI3‐‐‐> SCREL3‐‐‐> Balbach‐‐‐> SSB‐‐‐> El Camino Real ‐‐‐> Escrow on
            Sajjan Agarwal (Equity Investor via SiliconSage Investments 3)                                            9/10/14 for El Camino Real's construction loan, which paid off $3M of
  1                                                                          8/26/2014     1,000,000    (940,000)                                preexisting debt.
                                                                                                                    Balbach‐‐‐> Bridge Fund‐‐‐> SSC‐‐‐> SSC Payroll on 9/19/18 & Payroll Taxes
                       Prime Finance (Construction Lender) ‐ A
2a                                                                           9/18/2018      646,731     (360,000)                                  on 9/20/18
                                                                                                                    Balbach‐‐‐> Bridge Fund‐‐‐> SSB‐‐‐> Settlement payment to Brannon Corp
                       Prime Finance (Construction Lender) ‐ B
2b                                                                           9/18/2018      646,731     (100,000)                                  on 9/20/18
                                                                                                                    Balbach‐‐‐> Bridge Fund‐‐‐> SSB‐‐‐> Starstone National on 1/11/19, which
                        Amar Gupta (Promissory Note Holder)                                                                            paid SSC's Workers Comp Insurance
  3                                                                          1/10/2019      250,000     (208,213)
                                                                        Case 3:20-cv-09247-SI Document 242 Filed 12/03/21 Page 29 of 30




                                                                  1                                     PROOF OF SERVICE

                                                                  2 STATE OF CALIFORNIA, DISTRICT COURT, NORTHERN DISTRICT

                                                                  3       At the time of service, I was over 18 years of age and not a party to this action. I
                                                                    am employed in the County of Orange, State of California. My business address is 3200
                                                                  4 Park Center Drive, Suite 250, Costa Mesa, CA 92626.

                                                                  5          On 12/3/2021, I served true copies of the following document(s) described as
                                                                      THIRD QUARTERLY REPORT OF THE RECEIVER on the interested parties in this action as follows:
                                                                  6
                                                                                                  SEE ATTACHED SERVICE LIST
                                                                  7
                                                                    (X) (BY COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) – Pursuant to United
                                                                  8 States District Court, Northern District of California, the foregoing document will be

                                                                  9 served by the court via NEF and hyperlinked to the document. On 12/3/2021, I checked
                                                                    the CM/ECF docket for this case and determined that the aforementioned person(s) are
                                                                 10 on the Electronic Mail Notice List to receive NEF transmission at the email address(es)
                                                                    indicated.
                                                                 11 (X) (BY U.S. MAIL). I enclosed the document(s) in a sealed envelope or package and
                                                                    placed the envelope for collection and mailing, following our ordinary business practices.
SMILEY WANG‐EKVALL, LLP

                          Tel 714 445‐1000 • Fax 714 445‐1002




                                                                 12
                             3200 Park Center Drive, Suite 250




                                                                    I am readily familiar with the practice of Smiley Wang-Ekvall, LLP for collecting and
                               Costa Mesa, California 92626




                                                                 13 processing correspondence for mailing. On the same day that correspondence is placed
                                                                    for collection and mailing, it is deposited in the ordinary course of business with USPS in
                                                                 14 a sealed envelope with postage fully prepaid. I am a resident or employed in the county
                                                                    where the mailing occurred. The envelope was placed in the mail at Costa Mesa,
                                                                 15 California.
                                                                    ( ) (BY E-MAIL). By scanning the document(s) and then e-mailing the
                                                                 16
                                                                    resultant pdf to the e-mail address indicated above per agreement. Attached to
                                                                 17 this declaration is a copy of the e-mail transmission.
                                                                    ( ) (BY FACSIMILE). I caused the above-referenced documents to be
                                                                 18 transmitted to the noted addressee(s) at the fax number as stated. Attached to this
                                                                    declaration is a "TX Confirmation Report" confirming the status of transmission.
                                                                 19 Executed on ____________, at Costa Mesa, California.
                                                                    ( ) STATE I declare under the penalty of perjury under the laws of the State of
                                                                 20
                                                                    California that the above is true and correct.
                                                                 21
                                                                    (X) FEDERAL I declare that I am employed in the office of a member of the bar
                                                                 22 of this court at whose direction the service was made.

                                                                 23         Executed on December 3, 2021, at Costa Mesa, California.
                                                                 24

                                                                 25                                                      /s/ Lynnette Garrett
                                                                 26                                                Lynnette Garrett

                                                                 27

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                                                                         Case 3:20-cv-09247-SI Document 242 Filed 12/03/21 Page 30 of 30


                                                                                                                     SERVICE LIST

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                                                                 24
                                                                      Via U.S. Mail:
                                                                      Senior District Judge Susan Illston
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                                                                      San Francisco, CA 94102
                                                                 27

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